                                       Case 20-32644-sgj7      Doc 63     Filed 09/16/22
                                                                                  FORM 1
                                                                                          Entered 09/16/22 22:04:22                               Desc Main
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                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                     Page No:    1
                                                                                  ASSET CASES

Case No.:                  20-32644-SGJ                                                                                              Trustee Name:                              Jeffrey H. Mims
Case Name:                 MOVIE GRILL CONCEPTS XXXVII, LLC                                                                          Date Filed (f) or Converted (c):           04/03/2021 (c)
For the Period Ending:     9/16/2022                                                                                                 §341(a) Meeting Date:                      05/11/2021
                                                                                                                                     Claims Bar Date:                           09/07/2021

                              1                                   2                        3                                 4                        5                                           6

                       Asset Description                        Petition/           Estimated Net Value                   Property               Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                        Unscheduled          (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                     Value                    Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                  Less Liens, Exemptions,
                                                                                     and Other Costs)

 Ref. #
1       CAPITAL ONE, TEXAS THEATER                                       $0.00                              $0.00                                          $0.00                                            FA
        DEPOSITORY 4063
2       CAPITAL ONE, TEXAS THEATER                                       $0.00                              $0.00                                          $0.00                                            FA
        DEPOSITORY 2974
3       CAPITAL ONE, TEXAS THEATER                                       $0.00                              $0.00                                          $0.00                                            FA
        DEPOSITORY 2982
4       SECURITY DEPOSIT CALIFORNIA ASSETT                            $1,900.00                      $1,900.00                                             $0.00                                      $1,900.00
        PROPERTIES CUSTOMER SERVICE PO
        BOX 491099 LOS ANGELES CA 90049
5       LIQUOR LICENSES                                           $33,600.00                        $33,600.00                                      $240,000.00                                             FA
6       CNA INSURANCE LIABILITY                                          $0.00                              $0.00                                          $0.00                                            FA
7       CNA INSURANCE AUTO                                               $0.00                              $0.00                                          $0.00                                            FA
8       CNA INSURANCE WORKERS                                            $0.00                              $0.00                                          $0.00                                            FA
        COMPENSATION
9       CNA SPCECIALTY - INSURANCE $10 M                                 $0.00                              $0.00                                          $0.00                                            FA
        EXCESS LIABILITY 3RD LAYER
10      CHUB INSURANCE - CYBER                                           $0.00                              $0.00                                          $0.00                                            FA
11      CHUB INSURANCE - $5M EXCESS                                      $0.00                              $0.00                                          $0.00                                            FA
        LIABILITY - 2ND LAYER
12      CHUB INSURANCE - CRIME                                           $0.00                              $0.00                                          $0.00                                            FA
13      CHUB INSURANCE -DIRECTORS &                                      $0.00                              $0.00                                          $0.00                                            FA
        OFFICERS LIABILITY
14      CHUB INSURANCE - $5M EXCESS                                      $0.00                              $0.00                                          $0.00                                            FA
        LIABILITY - 2ND LAYER FIDUCIARY
        LIABILITY
15      CHUB INSURANCE - EMPLOYMENT                                      $0.00                              $0.00                                          $0.00                                            FA
        PRACTICES LIABLILITY
16      ENDURANCE INSURANCE - EXCESS D&O                                 $0.00                              $0.00                                          $0.00                                            FA
        $1M
                                        Case 20-32644-sgj7                    Doc 63    Filed 09/16/22
                                                                                                FORM 1
                                                                                                        Entered 09/16/22 22:04:22                                             Desc Main
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                                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                   Page No:    2
                                                                                                         ASSET CASES

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Case Name:                  MOVIE GRILL CONCEPTS XXXVII, LLC                                                                                                    Date Filed (f) or Converted (c):               04/03/2021 (c)
For the Period Ending:      9/16/2022                                                                                                                           §341(a) Meeting Date:                          05/11/2021
                                                                                                                                                                Claims Bar Date:                               09/07/2021

                                1                                                 2                               3                                    4                          5                                              6

                       Asset Description                                       Petition/                  Estimated Net Value                     Property                   Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                                       Unscheduled                 (Value Determined by                     Abandoned                  Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                    Value                           Trustee,                    OA =§ 554(a) abandon.             the Estate
                                                                                                        Less Liens, Exemptions,
                                                                                                           and Other Costs)

17      LIBERTY MUTUAL INSURANCE -                                                      $0.00                                     $0.00                                                $0.00                                            FA
        PROPERTY INCL LEASED & RENTED
        EQUIPMENT
18      LLOYDS OF LONDON INSURANCE -                                                    $0.00                                     $0.00                                                $0.00                                            FA
        EARTHQUAKE $10 LAYER
19      LLOYDS OF LONDON INSURANCE -                                                    $0.00                                     $0.00                                                $0.00                                            FA
        PERLAND
20      QBE INSURANCE - EARTHQUAKE - $10M                                               $0.00                                     $0.00                                                $0.00                                            FA
        LAYER
21      STARSTONE INSURANCE - EXCESS D&0                                                $0.00                                     $0.00                                                $0.00                                            FA
        $2M
22      TRAVELERS INSURANCE - $5M EXCESS                                                $0.00                                     $0.00                                                $0.00                                            FA
        LIABILITY 1ST LAYER
23      VOYAGER INSURANCE - FLOOD -                                                     $0.00                                     $0.00                                                $0.00                                            FA
        SELECTED LOCATION


TOTALS (Excluding unknown value)                                                                                                                                                                           Gross Value of Remaining Assets
                                                                                   $35,500.00                              $35,500.00                                            $240,000.00                                   $1,900.00




     Major Activities affecting case closing:
      09/16/2022    Trustee has liquidated all assets and distributed all cash pursuant to Order(s) of the Court. Trustee expects to file his Trustee's Distribution Final Report within the next two weeks.


Initial Projected Date Of Final Report (TFR):           12/31/2022                              Current Projected Date Of Final Report (TFR):                                         /s/ JEFFREY H. MIMS
                                                                                                                                                                                      JEFFREY H. MIMS
                                                                                                                                                                                      TRUSTEE
